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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
BUILDING SERVICE 32BJ HEALTH DOC #: __ —
FUND, BUILDING SERVICE 32BJ DATE FILED: _ 11/9/2020

THOMAS SHORTMAN TRAINING,
SCHOLARSHIP AND SAFETY FUND,
BUILDING SERVICE 32BJ LEGAL
SERVICES FUND, BUILDING
SERVICE 32BJ SUPPLEMENTAL
RETIREMENT AND SAVINGS PLAN,

 

 

Plaintiffs,
-against- 20 Civ. 8977 (AT)
INTEGRITY NATIONAL CORPORATION, ORDER
Defendant.

 

ANALISA TORRES, District Judge:

To protect the public health, while promoting the “just, speedy, and inexpensive determination
of every action and proceeding,” Fed. R. Civ. P. 1, it is ORDERED pursuant to Rules 30(b)(3) and
30(b)(4) of the Federal Rules of Civil Procedure that all depositions in this action may be taken via
telephone, videoconference, or other remote means. It is further ORDERED pursuant to Rule
30(b)(5) that a deposition will be deemed to have taken place “before an officer appointed or
designated under Rule 28” if such officer attends the deposition using the same remote means used to
connect all other participants, so long as all participants (including the officer) can clearly hear and be
heard by all other participants. The parties are encouraged to engage in discovery through remote
means at every available opportunity.

SO ORDERED.

Dated: November 9, 2020
New York, New York

On

ANALISA TORRES
United States District Judge
